      Case: 1:16-cv-08298 Document #: 87 Filed: 02/06/18 Page 1 of 1 PageID #:2169



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

JOHN DOE,                                             )
                                                      )
                                  Plaintiff           )       Case No. 16-cv-08298
                v.                                    )
                                                      )       Judge Edmund Chang
UNIVERSITY OF CHICAGO, et al.,                        )
                                                      )
                                  Defendants.         )

                     STIPULATION OF DISMISSAL WITH PREJUDICE

         Plaintiff, John Doe, and Defendant, University of Chicago, through their undersigned

counsel, submit this Stipulation of Dismissal with Prejudice as to all of their claims in this action

pursuant to Rule 41 (a)(1)(A)(ii) of the Federal Rules of Civil Procedure. Each side shall bear

their own costs in this action.

Date: February 6, 2018



JOHN DOE                                              UNIVERSITY OF CHICAGO

By:        /s/Chad Nold                               By:    /s/Peter G. Land
      One of Plaintiff’s Attorneys                    One of Defendant’s Attorneys

Chad Nold                                             Peter G. Land (06229659)
Saper Law Offices, LLC                                Husch Blackwell LLP
505 N. LaSalle Street, Suite 350                      120 South Riverside Plaza, Suite 2200
Chicago, Illinois 60654                               Chicago, Illinois 60606
(312) 527-4100                                        312-526-1631




                                                                                             1770163.1
